USDA                                       Unltod States Department ol Agricutture
                                          Animal and Plant HoaHh 1nspec1ion Service                    26913 1322160528
                                                                                                                           ~~·
                                                                                                                          IMI)Jd
iiiiiiiil
                                                   Inspection Report
Pamela Sellner
Tom Sellner                                                            Customer I0 : S143
Cricket HollOw Zoo                                                        Cortllicate· 42-C-0084
1512 2t0th Stree1
Manchester, lA 52057                                                             Slie· 001
                                                                                 l(:lf.t l PAUQ..A SEU.HER


                                                                                Type· ROUTINE INSPECTION
                                                                                Date· Sep-2S-20t3

3.75           (c)      (3)                         REPEAT
HOUSING FACiunES. GENERAL
(3) Cleaning Hard SUttaces will 10illch nonhuman primates come 1n oon1ae1 must be spot-deaned daly and sanilized
n accordance wilh Sec. 3.80 ol ""' I<A>polt 10 P"''''"' """""""''""' ol e=eta or -
_,,,__""' SLWtaces must 1>o sanll"od orr~'" r~ inlofvals as dol""'*">d by lhe anet'dng
                                                                                               hazards- B        lhe"""'""
- - in accordance wilh - e l y - o d .,.,_,., and husbondry practices. Floors . . - o1 on,
absodlent bedding, sand, gravel, graM, 01' Olhtt llmit.at maWINII, and planted Qt\ICIOSLWK tnlJ$1 be raked 01 Spol·
deaned With sufflc:ient frequency fO ensure all an.mats the freedom to avoid contact With ew~. ConranWtated
material fT'kiSt be removed Ot r8S)Iacecl whlntwef' raking and spot clealling doe$ not eliminate odors. diseases.
•nsects, pests., ot venT'Mn ln~abOn. All other sutf.teM of housing facilities mu:s.t be cleaned and sanitized whiM
necessary to saasJy gcf1<lfoly acc~G<I ""sbanclry stanclotds and practices. San~lzalion may be dorle by any of lhe
melllods provided in Sec. 3.&4(b)(3) of thileubpart for ptimary enclosures.

Within the •rept1le house~, th&l'& is a latge amoun1 ~ Wst, dirt, debris. and/or cobwebs on the fkx>r. wats, ceiling,
husbandry items. and light and electrical fixtures. Tho rutted lemur. the finQ·ttuled lemur and one baboon are located
in Uis area. There are also cobw(lbs wlthlll tho ruffed tomur and ring·laAiod lomur enclosures. Tho cobwebs ate
located in both the indoot and outdoOI' ponions ol these enclosures.

There are two primate enclOsures that have a bulld·up ot fOOd waste and/or animal waste on the floor of the
enclosure (one ruffed lemuc In the ..reptile hOY!&\ IWO bush babies in the ·education oenter"). This waste is attracting
tlies.

In the indoor portion of the baboon enclosuro within the "ropcite house", there are several large areas on the
anc:IO&Jro walls lhal have black 10 btown grlmo.

Within the primate building, there is a large amount ot dust, dirt, debris, lly specs, insulalion and/or cobwebs on the
floOI'. waiJs, ceiling, huSbandry IIOI'M, and light and oiOCirieal fl)(turos. All ol tho ptlmary onclosutos within this building
have a build~up ol dust, din, debris, cobwobs and/or gtime on the wue panels that make up the primary enclosure.
These encloSUie$ contain two macaques, one vervet and three baboons. There is a p&ay hOuSe within the outdoor
portion ot the wrvet enclosure Lhat ls made of hard ptastlc that has a thick bulld-op of dust, dirt and/or grime.




Prepared By:


     Title:
                      EATHER    ...     .
                                      HEJ...THER (:'(1LE. [1 V M

                                       • VM               USDA.
                     VETERINARY MEDlCAL OfflCER 10$ll0Cior 6026
                                                                        S, Ani al Care                   Date:
                                                                                                         Sep-27-2013

Received By:
                                                                                                         Date:
     Tille:                                                                                              Sep-27-2013
                                                        Case #C14-2034-JSS                              EXHIBIT 22 PAGE 0001
                                                                                                                      000109
USDA                                    United States Oepartmen1 ot Agricuhure
                                       Animal and Plan1 Hearth Inspection Setvtce                                  ~~·

~
                                                                                             269\31322160528     lraspJd

                                               Inspection Report

Foiuro1o doon rinll ...._areas, inducing primaly endooures, can -              10 heallh hazalds, - " and odors.
HalO SUit...,. wllh- -                   primales come in oonlact mus1 be ..,...duned d;i/tf and indoor primaly
enclosures f'nUit be I3I'IIIWid at leaSt once evety two weeks 01 more often If neonaaty 10 prewnt an excessive
aa:umula!JOn o1 ditt, - I s animal "' food waste,"' disoaso hazafl:ls

U tl'le "*""scent mark.. the sur1aoes must be sanrbzed or replaced at regUint lntetVals as detetmined by the
ancncing V(ltetlnartan in aooorclance with genetalty accected ptoless.lonal and husbandry practices.

Floors made ot dirt, ablortlont bodding, gtavet, grass, or other slmtlat material mus:t be raked Ot spot-cleaned with
sufficient frequoncy 10 ensure all animals the freedom to avoid coou:aa with excreta. Contaminated material must be
removed or replaced whenever raking and spot cleaning does not elfmlnato posts, odOrs, or other disease hazards.

All other surfaces within hOU$ing tacilities must be cleaned and sanilizod when neoeasary to satisfy generally
accepted husbandry atandards and praclicas.




3 .81                  {C)   {2)                REPEAT
ENVIRONMENT ENHANCEMENT TO PROMOTE PSYCHOLOGlCAL WELL·BEING.
{c ) Special......,....,.., Ce<1ain nonhuman primales mus1 be pmwjod..,.,.... • - regarding enhancemen1 of
lheir   ....,._,-on lheneedsoflhe - . a ! - ondon-W>thlhe - o l l h e
an~Wldo~lg YOierinlrian. Nonlunan primales roqtMing spedaJ "'"""""' arolho ~: (2) Those 1hat show 59'S of
being In psychofoOocal dislr8SO lluough bella,.., "' awearance:

Thera Is an awoxlmalely sev0<1 year old. female rheSYS macaque {Ana) lhal has llwlnlng M!r on bo1h legs and a
patch of thinning hair on her back. This is $UgQestive of ovet·grooming. This animal was al5o observed multiple times
sucking hef lot. These abnormal behaviors sug~ that the animal is in psychcMoglcal d•stress. The licensee states
that th(l animal has otwoys sucked her toe. This animal is palt·houscd and there Bte some environmental eorictlment
items within the endosure, however, the environmental enhanoemem piM doot not specilically addres-s the
abnormal behaviors. Folturo to have a special p&an regarding environmental onhoncomont In animals snowing signs
of psychologlcaJ distress can lead to further psychological distress, abnonnal behav*ots or animaJ injury. The licensee
must oovelop ~ document and tollow an environmental enhancemem plan thai spocillcally &ddresses the animals that
show signs ol bolng In psychok:lglcal distress through bQhaVIQ( or appearance.

3.84                   (d)                      REPEAT
CLEANING, SANITIZAnON, HOUSEKEEPING, AND PEST CONTROL.
(d) Pest control. M effectiVe program 101' control of insects. external parasi10S atfec:&ing nonhuman primates. and
birds and mammall lhal ate pe<~s. musl be eslabished and moinlalnod 10 as 10 promolelhe heallh and --being o1
the atwna1s and reduce oon&aml~ by pestS in atimaf areas

                       I
                                   HEATHER COLE [ 1 V M
Prepa~           By:
                                                                                               Date:
        Tille:                                                                                 Sep-27·2013

Received By:
                                                                                               Date:
        Tille:                                                                                 Se~>-27·2013
                                                    Case #C14-2034-JSS                        EXHIBIT 22 PAGE 0002
                                                                                                            000110
USDA                                      United States Oepartmen1 of Agricuhure
                                        Animal and Plan1 Hearth Inspection Setvtce                                  ~~·

~
                                                                                                269\31322160528   lraspJd

                                                 Inspection Report

A lotgo . . . . - o l - ate p...... ~ lhe enlire tacilily.         n.or.
                                                                     110 111et ~around - l h e primale
tJo-.g and "eclJciiiOft ..,..,., Ales are p.esentwllt*l some ollho anomot - . ... and can be seen landong on
the anwnats. food and rinaf wa$1e The animals present in these areas are two macaques, one vervec. lhree
baboono, and IWO bush - .

CobweOs wilt! apkkws are present within the "repcile house·, primate building and ·ecklca110n oenter". Some of &he
animal enclosures hive cobwebs on Ol' wttl'lin !hem. The anmals •n these arMS are the ruffed lemur, Mg-taied
lemur, loor baboons ("reptile house" and plima:e buiking), two macoquos. one vervet. and two bush babies.

Evidence ot roclonts oro ptosont througi'IOut lh& facility. Rodent leoes is pr0$0nl 'llllhln lhe primate budding atld there
are holes in tho waft that the licensee confirms were made by todoots. One Inspector saw a live mouse in the primate
building hou ~o~ng two macaques, one vervel and three baboons.

The presence ot pe:&ts can lead to health hazards for the animals. A sole aJ'CI ellecllve program for the conrrot of
pe$1$, including tiles. apldets and rodents, must be established and mainlained.

3.127                {C)                          REPEAT
FACILITIES, OUTDOOR.


oompty With IA)IiCObto F - . .. Slate, and loc:allaws and regtkoono
lhoO<IWOfllnenl
                                                                          10         ,..,,;on
(c) Drainage. ,._sui,_ me111od shall be """'"""' 10 rapkly elmiMte excess water. The method of drainage shal
                                                                          ,...,lng   0001101 or lhe protection ol


There • • latge atNS of ~ water ~ tot. enclosures.

One area Is wi1Nn the exhit>io housing rwo pocbelly pig$. The<e is an ""'" opproximately lour by lo<Jr feet in one
oomer ~ thltnclolul"'l'\at is wet and rTUXty with sitting water. The ic:ensM 1tatn thallhis was cr&ated by recent
rains and !hat dra.nago 1n this area is a problem.

The second ancttherd aroas are wittlin ltle exhibits hOusing one fallow deer and two Molshan pigs. Within~
exhibits there ato large, wet and muddy areas with standing watlli'. The w<lt areas are adjaoent to the shared fence·
line between lhe exhibha, near the water recepCacles. The licensee sca1os thai tOO hose thtn runs to these water
roceptac:IM has a loak and Is creating lho standing water. Tho animals must wall. through tho wot areas to road'l
these wa1er rocoptoclea.

The louflh ruoa Is wlth•n the oxh!bit housing two bears. Thefo Is stanchng water a)Ong the edge of the enclosure
creating several small puddles within the enclosure. The licensee stales this Is lrom recenl rains.

Improper dralf\808 wi1hin enc:tosures does not ensure a clean, dty environmemlor the animats which can impacl the
health and well-being of Ihe animals. A sui1able method shaJ be provided to rapidly eliminate excess water from
within the enctoturoa.




                     I
                                   HEATHER COLE [ 1 V M
Prepa~         By:
                                                                                                  Date:
     Title:                                                                                       Sep-27·2013

Received By:
                                                                                                  Date:
     Title :                                                                                      Se~>-27·20 13
                                                     Case #C14-2034-JSS                          EXHIBIT 22 PAGE 0003
                                                                                                                000111
USDA                                     United States Oepartmen1 ot Agricuhure
                                        Animal and Plan1 Hearth Inspection Setvtce                                  ~~·

~
                                                                                               269\31322160528    lraspJd

                                                Inspection Report

3.127      (d)                                   REPEAT
FACll.mES. OUTOOOR.
Section 3 t27(d). Porimeler 1en<:e On"' alter May 11. 2000. ~~--no-~··· 1acii1ies,.. eolirel)'
oldoo<o) """'bo .....-by a pe<ometer 1en<:e !hat io o1sufliQet11 hooghtto 1<eep- ard . . . . . . . . - -
out Fenc:es less than 81oo1 high IO< potoobaly dangerous a - . SUCh as. but OOIIirnoiOd 10. laf1lG felines (e.g..
fioos, ligets, loopol<!s oougars, e<o ), beatS. W<llves, rhinocet06, 8l1d elophanll, 0< less !han 6 feel high f<J< other
animals mus:t be approved 1n wt•ting by the AdministratOf. The fence mu:t.t be constructed so that it ptotects the
animals In the IQC:illlty b)' restricting animals and unauthorized petsons lrom going through it or under rt and haVing
contact with the onlmats in lhe tac;:ility, and so that it can fvOoC'OOn as a secondary contajnment system for the animals
in the facility. It must be ol sutlictent distance from the outside ol the primruy enclosure to ptevent pnysieal cootad
bciW<Icn anlmais inside the eoclosurc and animals or persoos ootsldo lhOpo1lmotet ICinoo. Such fences tess than 3
teet in distance lrom tho p1imary enclosure must be approved in writing by the Actministrator.

The ponlon ot the perimeter tenoe surrounding the big cats, bears, onct WOI¥OS has a Sec1ion of fence that has
beoome detached from the fence post and is sagging ou1 from the taclhty. Another section ol fence in the same area
has boon patched toooti'K!r wdh paoots and th9te are gaps OOtwoon thO panels thai oould bo pushed apart to a!k:lw
animals to entet or Oll!l the aroa This fence is not in good repair and does not elfeclively restrict animals and
unaVIhorlzed peraons from going through it The perimete.. tenoe needa to be repaired or replaced in order to
effectively prevenl animals and people from going through II ot under It and having contact w.th the animals in the
lacilily.

There io a camel in one en<:losutelhat has no seconda1y <Xlfllainment on one side o1 lhe ..-re. On lhe WOSI side

design does notl)fOYido lot a secondary..........,... system lor lhe camel     Tho.,...,...,
ollhe - ·· lhe....., fence lhol C0<1IaU1s lhalarOmal nlhe lac:i!Oy io lhe eoghlloot penme;er fence. Thio fencing
                                                                                             fence must be conslruC1ed
so lhal•-.... -                .....  lal:li1y by ''"'cliorling as a ~ ..,.......,_ · - nmust be ol sUficienl
cis:tanoe (3 Ieee 01 mote) from the outside of the primary endoeure to prevent phySical COI'llact beCween animals
""""' 11'16 endooure IIWl Olllmals 0< persons OOISide of lhe pel\mefer fence


3.129               (b)
FEEDING.
(b) Food, and food receptacles, II used, shall be sufficient In quantity and lOCated so Mto be accessible to all animals
in the enclosure and shall be placed so as to minimize contamination. Food roceptaetes shall be kept clean and
sanitaty at all llm()S. It soll·foodors aro usOO, adequate measures shall bO takon to provont molding, contamination,
and detMiorotlon or ca.king ot food.

The le9dets lor the ooall mvodi, wallaby, coyotes, and potbelly pigs all have a thick brown to black bu•lcJ.up within
and!Ot on them. Failure to clean 1eeders can lead to disease hazards ror lhe animals. Food reoeptacles shall be kept
dean and sanitary at all limes.

To be correc:lod by: Oaobe< 9. 2013


                    I
                                  HEATHER COLE [ 1 V M
Prepa~        By:
                                                                                                  Date:
     Title:                                                                                       Sep-27·2013

Received By:
                                                                                                  Date:
     Tille:                                                                                       Se!>-27·2013
                                                     Case #C14-2034-JSS                          EXHIBIT 22 PAGE 0004
                                                                                                               000112
USDA                                      United States Department ot Agricuhure
                                         Animal and Plant Hearth Inspection Setvtce                                  ~~·

~
                                                                                                 269\31322160528   lraspJd

                                                 Inspection Report

3.130                                             REPEAT
WATe.RING.
H pooollle wate< is noc -          10 l h e - "'allimes, it...,.. be pnwldod os ot1en as necessat)' to< lhe heal1h
and comlorl ollho orlmll. Frequency of walering shal oonsidor age, specloo, condllion. siZe. and 1ype of lhe arOma!.
AI w"""   recopiOCies shall bo kAJI)I clean and sarilaty.

There iS a build-up of algae W!ll'lin the wa1er receptacles ror the capybara and the pen housing one llama and two
sheep. Falklre to clean water reoeptacles can lead 10 disease hazards kw lhe anlmats. All water receptacles shall be
ttept clean and sanitary at all times.


3.131               (0}                           REPEAT
SANITATION.
(a} Cleaning oC enclosures. Excreta shall be removed from primary ondosur&s as often as necessary to prevent
oontaminahon ol the animals con1ained therein and 1o minimize drseaso hazarl1t and to rettuce odors.

There are several enclosures throughout lhe entire facility that have a build·up o1 food waste andfor animal w~e
withtn the endolure. Klnkap.rs ("'repl:lle house· and "education centet1, Patagonlan cavy.l'llghland cattle, bears,
Afncan ctesred porcuprne, tennec lox.. and chi~as. In some of t.hQ areas. the was&e is art.racbng flies.

The wwa ...,.. and 10p of lho eag01g to< lheldnkajou Ml1on 111e 'educalion
grWn& and Ill'"""""' and lood wasle.
                                                                              ""'*' ha. . a bul<l-up o1    dusl, dit, debns,


Thera os a build.YP of o ~·- St.ClS!atiC810Cated on !he walls of Olio- oncloouto (boll>._ and
OU!Sido) The 1010< box w-!Nn llle senraJ enclost.<e has alaye< of clJsl, dill. detlt1s .,.,.,., gnme. The<e are cobwebs
both within and on 1he ~Gf\~31 enclosure.

There are several areas on lhe walls within the indoc:N" portion of the coati mundi enci05Ure that have a builcl-t~p of
black to brown grime. There are cobwebs located within and on the coati mundl enclosute.

There Is watEW, waste and/Ot debris on the floor of the capybara shelter.

The lnsld& of thO Shetler few two ol the polbelly pigs has a thick bulld·up ol a blook to brown material on the ftoor.
walls and ceiling.

FaJiure to cloan animal enclosures can lead to heaJth hazards, pests and odors Primary enclosures shall be cleaned
and exoreta shall be removed in order to prevent contamination of the animals contained thmein and to minimize
dlsoasa hatarcts. pests and odors.




                    I
                                   HEATHER COLE [ 1 V M
Prepa~        By:
                                                                                                   Date:
     Tille:                                                                                        Sep-27·2013
Received By:
                                                                                                   Date:
     Tille:                                                                                        Se~>-27·2013
                                                     Case #C14-2034-JSS                           EXHIBIT 22 PAGE 0005
                                                                                                                 000113
USDA                                      United States Department ot Agricuhure
                                        Animal and Plant Hearth Inspection Setvtce                                   ~~·

~
                                                                                                 269\31322160528   lraspJd

                                                 Inspection Report

3.131     (C)
SANITAT10N.
(c) - - n g .,..,....,. (buildings and g<oonds} shal be kepi dean and In good._;, in O<def 10 pro;ealhe
animals from 1f¥¥Y and 10 tdla!e the prescribed husbandry praaices Mf 1ont1 •n thiS subpart. Acxunula:tions of
• - Shall be placed in <looigootod aroas and deared as ,..,..sary 10 prOieCIIhe health ollho animals.

Withm the back a' tne ~repbAe hOuSe". there is a large amount of ciVil, dirt. debris, and.'Ot cobwebS on the floor, watts.,
ceiling, l'lustlandry Items, and light and etecttlcal fixtures. The servat and coon muncl are k>cated In this area

Within the feed SIOtDge room in the "education center" there is dust, dirt, debris, rodent droppings andfor cotlwebS on
the fiOOf', watts. co•llng, sholvos and husbandry supplies.

Failure to ctoan tho promlsos can load to Mallh hazards and can contributo to tho dovolopmont of pest breeding and
living areas. The prel'l"'i$es must be kept clean in order to protea the animals lrom health hazards. to reduce or
eliminate brooding nnd living areas tor pes.ts and 1o tacili1ate good husbandry practices.

To be corrOCiod by· October 25. 2013



3.131               (d)                           REPEAT



--bo. .
SANITATION.
(d) Pest contJOI A ule and eftOCIM> program tor lho COOIIOI cl rnsocq, eaopor-. and """" and mammaian
                          _and _ _

A large runbe< cllheo .,. presenl throughout 1he entire laeiity. Tho<e are Hoes llying around wi1t>n lho "reptile
house·. OYtsldiiBcilitiea and ·edueaiJon center". Flies are present withtn tome olthe animal endOswes and can be
seen tanding on the animals. food and arimaJ waste. Fles are present w1thitl both lndocw and outdoor enclosures.
The animals ptesemln these areas are the ferrets, kinkajou ("reptile house• and "education center"), Patagonian
cavy, bears, African crested porcup[ne, IQnnec lox. chinchillas, skunk, sk»th, l1lld armad1ll0.

Cobwebe with apldOtl are ptesent throughout the entire facility. The maln areas where the spiders are located are
withln the ·r(lpl!IO houso'\ outsidolacllities and within the storage area In tho "oducotlon conter·. Some of the animal
enclosures have cobwebs within them (serval, coati mundl}.

Thoro is evldGnOe ol rodents throughout the facility. There was a dead rat wtlhln ono ol tOO coyoto cnctosuros. The
licensee removed the rodent dllfing the inspectjon. Rodent feoes Is present In several areas including the feed
storage room w.thln the ..education center'".

The presence ot PMts can lead to health hazards lot the animals, A sate •~ e1tective program for the control at
pests, including ~i... spldots and ,_,..., must be established and mainoaJnecs.


                    I
                                   HEATHER COLE [ 1 V M
Prepa~        By:
                                                                                                   Date:
     Title:                                                                                        Sep-27·2013

Received By:
                                                                                                   Date:
     Tille:                                                                                        Sep-27·20 13
                                                     Case #C14-2034-JSS                           EXHIBIT 22 PAGE 0006
                                                                                                                000114
USDA                            United States Oepartmen1 ot Agricuhure
                               Animal and Plan1 Hearth Inspection Setvtce                           ~~·

~
                                                                                269\31322160528   lraspJd

                                      Inspection Report



The..,..._,.,.......,__..
orne.
                          plan lor non-toolan p<Wnaoes was"-'*'·     No-    roc:ocds inspected at lhis




                   I
                           HEATHER COLE [ 1 V M
Prepa~       By:
                                                                                  Date:
    Tille:                                                                        Sep-27·2013

Received By:
                                                                                  Date:
    Title:                                                                        Sep-27·2013
                                           Case #C14-2034-JSS                    EXHIBIT 22 PAGE 0007
                                                                                               000115
Photographer:    Heather Cole                                Legal Name:                                             42-C-0084
                                                             PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                             TOM SELLNER
  Inspection:    269131322160528

  Description:   Distant photo. On the West side
                 of the camel enclosure, the only fence that contains the animal in the facility is the eight foot perimeter
                 fence.                           Case #C14-2034-JSS                           EXHIBIT 22 PAGE 0008
Photographer:    Heather Cole                                Legal Name:                                             42-C-0084
                                                             PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                             TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. On the West side
                 of the camel enclosure, the only fence that contains the animal in the facility is the eight foot perimeter
                 fence.                           Case #C14-2034-JSS                           EXHIBIT 22 PAGE 0009
Photographer:    Heather Cole                                Legal Name:                                             42-C-0084
                                                             PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                             TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. On the West side
                 of the camel enclosure, the only fence that contains the animal in the facility is the eight foot perimeter
                 fence.                           Case #C14-2034-JSS                           EXHIBIT 22 PAGE 0010
Photographer:    Heather Cole                             Legal Name:                                            42-C-0084
                                                          PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                          TOM SELLNER
  Inspection:    269131322160528

  Description:   Distant photo. Wet and muddy areas with standing water within the fallow deer and Meishan pig exhibits.
                                                 Case #C14-2034-JSS                       EXHIBIT 22 PAGE 0011
Photographer:    Heather Cole                             Legal Name:                                            42-C-0084
                                                          PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                          TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. Wet and muddy areas with standing water within the fallow deer and Meishan pig exhibits.
                                                 Case #C14-2034-JSS                       EXHIBIT 22 PAGE 0012
Photographer:    Heather Cole                             Legal Name:                                            42-C-0084
                                                          PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                          TOM SELLNER
  Inspection:    269131322160528

  Description:   Distant photo. Wet and muddy areas with standing water within the fallow deer and Meishan pig exhibits.
                                                 Case #C14-2034-JSS                       EXHIBIT 22 PAGE 0013
Photographer:    Heather Cole                             Legal Name:                                            42-C-0084
                                                          PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                          TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. Wet and muddy areas with standing water within the fallow deer and Meishan pig exhibits.
                                                 Case #C14-2034-JSS                       EXHIBIT 22 PAGE 0014
Photographer:    Heather Cole                              Legal Name:                                            42-C-0084
                                                          PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                          TOM SELLNER
  Inspection:    269131322160528

  Description:   Distant photo. A build-up of algae within the water receptacle in the pen housing one llama and two sheep.
                                                 Case #C14-2034-JSS                        EXHIBIT 22 PAGE 0015
Photographer:    Heather Cole                             Legal Name:                                             42-C-0084
                                                          PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                          TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. A build-up of algae within the water receptacle in the pen housing one llama and two
                 sheep.
                                                 Case #C14-2034-JSS                        EXHIBIT 22 PAGE 0016
Photographer:    Heather Cole                              Legal Name:                                             42-C-0084
                                                           PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                           TOM SELLNER
  Inspection:    269131322160528

  Description:   Distant photo. Several small puddles of standing water within the bear enclosure. Build-up of animal
                 waste.
                                                 Case #C14-2034-JSS                         EXHIBIT 22 PAGE 0017
Photographer:    Heather Cole                             Legal Name:                                            42-C-0084
                                                          PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                          TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. Several small puddles of standing water within the bear enclosure
                                                 Case #C14-2034-JSS                       EXHIBIT 22 PAGE 0018
Photographer:    Heather Cole                             Legal Name:                                            42-C-0084
                                                          PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                          TOM SELLNER
  Inspection:    269131322160528

  Description:   Perimeter fence surrounding the big cats, bears, and wolves. Fence is detached from the fence post and is
                 sagging out from the facility.
                                                 Case #C14-2034-JSS                       EXHIBIT 22 PAGE 0019
Photographer:    Heather Cole                             Legal Name:                                            42-C-0084
                                                          PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                          TOM SELLNER
  Inspection:    269131322160528

  Description:   Distant photo. Perimeter fence surrounding the big cats, bears, and wolves. Patched fence with gaps
                 between the panels.
                                                 Case #C14-2034-JSS                       EXHIBIT 22 PAGE 0020
Photographer:    Heather Cole                             Legal Name:                                           42-C-0084
                                                         PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                         TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. Perimeter fence surrounding the big cats, bears, and wolves. Patched fence with gaps
                 between the panels.
                                                Case #C14-2034-JSS                       EXHIBIT 22 PAGE 0021
Photographer:    Heather Cole                              Legal Name:                                            42-C-0084
                                                           PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                           TOM SELLNER
  Inspection:    269131322160528

  Description:   Distant photo. Build-up of food waste and/or animal waste on the floor of the bushbaby enclosure in the
                 "education center"
                                                 Case #C14-2034-JSS                        EXHIBIT 22 PAGE 0022
Photographer:    Heather Cole                             Legal Name:                                             42-C-0084
                                                          PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                          TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. Build-up of food waste and/or animal waste on the floor of the bushbaby enclosure in the
                 "education center"
                                                 Case #C14-2034-JSS                        EXHIBIT 22 PAGE 0023
Photographer:    Heather Cole                             Legal Name:                                             42-C-0084
                                                          PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                          TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. Build-up of food waste and/or animal waste on the floor of the bushbaby enclosure in the
                 "education center"
                                                 Case #C14-2034-JSS                        EXHIBIT 22 PAGE 0024
Photographer:    Heather Cole                             Legal Name:                                             42-C-0084
                                                          PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                          TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. Build-up of food waste and/or animal waste on the floor of the bushbaby enclosure in the
                 "education center"
                                                 Case #C14-2034-JSS                        EXHIBIT 22 PAGE 0025
Photographer:    Heather Cole                             Legal Name:                                             42-C-0084
                                                          PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                          TOM SELLNER
  Inspection:    269131322160528

  Description:   Build-up of food waste and/or animal waste on the floor of the bushbaby enclosure in the "education
                 center". Flies within the bush baby enclosure.
                                                 Case #C14-2034-JSS                        EXHIBIT 22 PAGE 0026
Photographer:    Heather Cole                                Legal Name:                             42-C-0084
                                                            PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                            TOM SELLNER
  Inspection:    269131322160528

  Description:   Flies within the kinkajou enclosure in the "reptile house"
                                                   Case #C14-2034-JSS         EXHIBIT 22 PAGE 0027
Photographer:    Heather Cole                                Legal Name:                                              42-C-0084
                                                            PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                            TOM SELLNER
  Inspection:    269131322160528

  Description:   Within the "reptile house", dust, dirt, debris, cobwebs on the floor, walls, husbandry items, and electrical
                 fixtures.
                                                   Case #C14-2034-JSS                          EXHIBIT 22 PAGE 0028
Photographer:    Heather Cole                                Legal Name:                                              42-C-0084
                                                            PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                            TOM SELLNER
  Inspection:    269131322160528

  Description:   Distant photo. Within the "reptile house", dust, dirt and debris on the floor, walls, husbandry items.
                                                   Case #C14-2034-JSS                          EXHIBIT 22 PAGE 0029
Photographer:    Heather Cole                                Legal Name:                                              42-C-0084
                                                             PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                             TOM SELLNER
  Inspection:    269131322160528

  Description:   Within the "reptile house", dust, dirt and debris on the floor, walls, husbandry items.
                                                   Case #C14-2034-JSS                          EXHIBIT 22 PAGE 0030
Photographer:    Heather Cole                             Legal Name:                               42-C-0084
                                                          PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                          TOM SELLNER
  Inspection:    269131322160528

  Description:   Distant photo. Cobwebs within the ruffed lemur enclosure.
                                                 Case #C14-2034-JSS          EXHIBIT 22 PAGE 0031
Photographer:    Heather Cole                            Legal Name:                                 42-C-0084
                                                         PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                         TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. Cobwebs within the ruffed lemur enclosure.
                                                Case #C14-2034-JSS            EXHIBIT 22 PAGE 0032
Photographer:    Heather Cole                              Legal Name:                                            42-C-0084
                                                          PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                          TOM SELLNER
  Inspection:    269131322160528

  Description:   Distant photo. Baboon enclosure within the "reptile house". Large areas on walls with black to brown
                 grime.
                                                 Case #C14-2034-JSS                        EXHIBIT 22 PAGE 0033
Photographer:    Heather Cole                              Legal Name:                                            42-C-0084
                                                          PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                          TOM SELLNER
  Inspection:    269131322160528

  Description:   Distant photo. Baboon enclosure within the "reptile house". Large areas on walls with black to brown
                 grime.
                                                 Case #C14-2034-JSS                        EXHIBIT 22 PAGE 0034
            •



                                         •
    •




Photographer:    Heather Cole                             Legal Name:                                             42-C-0084
                                                          PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                          TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. Baboon enclosure within the "reptile house". Large areas on walls with black to brown
                 grime.
                                                 Case #C14-2034-JSS                        EXHIBIT 22 PAGE 0035
Photographer:    Heather Cole                              Legal Name:                                             42-C-0084
                                                           PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                           TOM SELLNER
  Inspection:    269131322160528

  Description:   Distant photo. Coati mundi enclosure within the "reptile house". Large areas on walls with black to brown
                 grime.
                                                 Case #C14-2034-JSS                         EXHIBIT 22 PAGE 0036
Photographer:    Heather Cole                              Legal Name:                                             42-C-0084
                                                           PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                           TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. The feeder for the coati mundi has a thick brown to black build-up.
                                                 Case #C14-2034-JSS                         EXHIBIT 22 PAGE 0037
                                               '#T .




Photographer:    Heather Cole                              Legal Name:                                              42-C-0084
                                                           PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                           TOM SELLNER
  Inspection:    269131322160528

  Description:   Distant photo. The feeder for the coati mundi has a thick brown to black build-up.
                                                  Case #C14-2034-JSS                         EXHIBIT 22 PAGE 0038
Photographer:    Heather Cole                                Legal Name:                                              42-C-0084
                                                            PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                            TOM SELLNER
  Inspection:    269131322160528

  Description:   Distant photo. Within the "reptile house", dust, dirt, debris, rodent droppings on the floor, walls, husbandry
                 items.
                                                   Case #C14-2034-JSS                          EXHIBIT 22 PAGE 0039
                                                                           •
                                                                            •   .' , .... . .
                                                                                  "
                                                                                      ~

                                                                                           -~
                                                                                           '
                                                                                                                -,.
                                                                                                                  •
                                                                           •                   •
                                                                                                   •    -             "·




Photographer:    Heather Cole                                Legal Name:                                                      42-C-0084
                                                             PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                             TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. Within the "reptile house", dust, dirt, debris, rodent droppings on the floor, walls,
                 husbandry items.
                                                   Case #C14-2034-JSS                                  EXHIBIT 22 PAGE 0040
Photographer:    Heather Cole                               Legal Name:                                              42-C-0084
                                                            PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                            TOM SELLNER
  Inspection:    269131322160528

  Description:   Distant photo. Within the "reptile house", dust, dirt, debris, cobwebs on the floor, walls, husbandry items.
                                                   Case #C14-2034-JSS                         EXHIBIT 22 PAGE 0041
          •                               '

                                                                          ,..
                 -                J   •
                                                          •
                                                                           •    -,
                              -
                              •
                                          ~


                                                     '
                                                              .....
                                                                      •
                                                                                            •
                 •




Photographer:        Heather Cole                                     Legal Name:                                         42-C-0084
                                                                      PAMELA SELLNER
 Photo Taken:        Wed, Sep 25, '13
                                                                      TOM SELLNER
  Inspection:        269131322160528

  Description:       Close-up photo. Within the "reptile house", dust, dirt and debris on the floor.
                                                         Case #C14-2034-JSS                        EXHIBIT 22 PAGE 0042
Photographer:    Heather Cole                               Legal Name:                                              42-C-0084
                                                            PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                            TOM SELLNER
  Inspection:    269131322160528

  Description:   Within the "reptile house", dust, dirt, debris, cobwebs on the floor, walls, husbandry items.
                                                   Case #C14-2034-JSS                         EXHIBIT 22 PAGE 0043
Photographer:    Heather Cole                               Legal Name:                                             42-C-0084
                                                           PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                           TOM SELLNER
  Inspection:    269131322160528

  Description:   Distant photo. The feeder for the wallaby has a thick brown to black build-up.
                                                  Case #C14-2034-JSS                         EXHIBIT 22 PAGE 0044
Photographer:    Heather Cole                              Legal Name:                                             42-C-0084
                                                           PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                           TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. The feeder for the wallaby has a thick brown to black build-up.
                                                 Case #C14-2034-JSS                         EXHIBIT 22 PAGE 0045
Photographer:    Heather Cole                              Legal Name:                                              42-C-0084
                                                           PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                           TOM SELLNER
  Inspection:    269131322160528

  Description:   Distant photo. The feeder for the coyote has a thick brown to black build-up.
                                                  Case #C14-2034-JSS                         EXHIBIT 22 PAGE 0046
                      ••




Photographer:    Heather Cole                              Legal Name:                                             42-C-0084
                                                           PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                           TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. The feeder for the coyote has a thick brown to black build-up.
                                                 Case #C14-2034-JSS                         EXHIBIT 22 PAGE 0047
Photographer:    Heather Cole                              Legal Name:                               42-C-0084
                                                          PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                          TOM SELLNER
  Inspection:    269131322160528

  Description:   Distant photo. Algae within the capybara water receptacle.
                                                 Case #C14-2034-JSS           EXHIBIT 22 PAGE 0048
Photographer:    Heather Cole                             Legal Name:                                 42-C-0084
                                                          PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                          TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. Algae within the capybara water receptacle.
                                                 Case #C14-2034-JSS            EXHIBIT 22 PAGE 0049
Photographer:    Heather Cole                            Legal Name:                                            42-C-0084
                                                         PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                         TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. Approximately seven year old, female rhesus macaque (Ana) with thinning hair on both
                 legs.
                                                Case #C14-2034-JSS                       EXHIBIT 22 PAGE 0050
Photographer:    Heather Cole                             Legal Name:                                            42-C-0084
                                                          PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                          TOM SELLNER
  Inspection:    269131322160528

  Description:   Distant photo. Approximately seven year old, female rhesus macaque (Ana) with thinning hair on both
                 legs.
                                                Case #C14-2034-JSS                        EXHIBIT 22 PAGE 0051
Photographer:    Heather Cole                             Legal Name:                                            42-C-0084
                                                          PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                          TOM SELLNER
  Inspection:    269131322160528

  Description:   Distant photo. Approximately seven year old, female rhesus macaque (Ana) with thinning hair on both
                 legs.
                                                Case #C14-2034-JSS                        EXHIBIT 22 PAGE 0052
Photographer:    Heather Cole                            Legal Name:                                            42-C-0084
                                                         PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                         TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. Approximately seven year old, female rhesus macaque (Ana) with thinning hair on both
                 legs.
                                                Case #C14-2034-JSS                       EXHIBIT 22 PAGE 0053
Photographer:    Heather Cole                             Legal Name:                                            42-C-0084
                                                          PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                          TOM SELLNER
  Inspection:    269131322160528

  Description:   Approximately seven year old, female rhesus macaque (Ana) with a patch of thinning hair on her back.
                                                 Case #C14-2034-JSS                       EXHIBIT 22 PAGE 0054
Photographer:    Heather Cole                               Legal Name:                                              42-C-0084
                                                            PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                            TOM SELLNER
  Inspection:    269131322160528

  Description:   Distant photo. Play house within vervet enclosure with a build-up of dust, dirt, grime.
                                                  Case #C14-2034-JSS                          EXHIBIT 22 PAGE 0055
Photographer:    Heather Cole                               Legal Name:                                             42-C-0084
                                                            PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                            TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. Play house within vervet enclosure with a build-up of dust, dirt, grime.
                                                  Case #C14-2034-JSS                         EXHIBIT 22 PAGE 0056
Photographer:    Heather Cole                             Legal Name:                                           42-C-0084
                                                         PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                         TOM SELLNER
  Inspection:    269131322160528

  Description:   Approximately seven year old, female rhesus macaque (Ana) with thinning hair on both legs.
                                                Case #C14-2034-JSS                       EXHIBIT 22 PAGE 0057
Photographer:    Heather Cole                              Legal Name:                                            42-C-0084
                                                          PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                          TOM SELLNER
  Inspection:    269131322160528

  Description:   Build-up of dust, dirt, debris, grime on the primary enclosure. Rhesus macaque (Ana) sucking her toe.
                                                 Case #C14-2034-JSS                        EXHIBIT 22 PAGE 0058
Photographer:    Heather Cole                               Legal Name:                                             42-C-0084
                                                            PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                            TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. Build-up of dust, dirt, debris, grime on the primary enclosure.
                                                  Case #C14-2034-JSS                         EXHIBIT 22 PAGE 0059
Photographer:    Heather Cole                               Legal Name:                                              42-C-0084
                                                            PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                            TOM SELLNER
  Inspection:    269131322160528

  Description:   Distant photo. Build-up of dust, dirt, debris, grime on the primary enclosure.
                                                   Case #C14-2034-JSS                         EXHIBIT 22 PAGE 0060
Photographer:    Heather Cole                               Legal Name:                                              42-C-0084
                                                            PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                            TOM SELLNER
  Inspection:    269131322160528

  Description:   Distant photo. Within the primate building. Dust, dirt, debris, fly specs, cobwebs on the wall, ceiling, and
                 light and electrical fixtures.
                                                   Case #C14-2034-JSS                         EXHIBIT 22 PAGE 0061
Photographer:    Heather Cole                               Legal Name:                                             42-C-0084
                                                            PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                            TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. Within the primate building. Dust, dirt, debris, fly specs, cobwebs on the wall and light
                 and electrical fixtures.
                                                  Case #C14-2034-JSS                         EXHIBIT 22 PAGE 0062
Photographer:    Heather Cole                              Legal Name:                                             42-C-0084
                                                           PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                           TOM SELLNER
  Inspection:    269131322160528

  Description:   Within the primate building. Large amount of dust and dirt on the floor and husbandry item.
                                                 Case #C14-2034-JSS                         EXHIBIT 22 PAGE 0063
Photographer:    Heather Cole                               Legal Name:                                              42-C-0084
                                                            PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                            TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. Within the primate buiding. Dust, dirt, debris, and insulation on the floor and walls.
                                                   Case #C14-2034-JSS                         EXHIBIT 22 PAGE 0064
Photographer:    Heather Cole                                Legal Name:                                              42-C-0084
                                                            PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                            TOM SELLNER
  Inspection:    269131322160528

  Description:   Distant photo. Within the primate buiding. Dust, dirt, debris, and insulation on the floor and walls. Build-up
                 of dust, dirt, debris, grime on the primary enclosure.
                                                   Case #C14-2034-JSS                          EXHIBIT 22 PAGE 0065
Photographer:    Heather Cole                               Legal Name:                                              42-C-0084
                                                            PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                            TOM SELLNER
  Inspection:    269131322160528

  Description:   Distant photo. Build-up of dust, dirt, debris, grime on the primary enclosure.
                                                   Case #C14-2034-JSS                         EXHIBIT 22 PAGE 0066
Photographer:    Heather Cole                               Legal Name:                                             42-C-0084
                                                            PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                            TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. Build-up of dust, dirt, debris, grime on the primary enclosure.
                                                  Case #C14-2034-JSS                         EXHIBIT 22 PAGE 0067
Photographer:    Heather Cole                               Legal Name:                                   42-C-0084
                                                            PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                            TOM SELLNER
  Inspection:    269131322160528

  Description:   Build-up of dust, dirt, debris, grime on the primary enclosure.
                                                   Case #C14-2034-JSS              EXHIBIT 22 PAGE 0068
Photographer:    Heather Cole                                Legal Name:                                              42-C-0084
                                                            PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                            TOM SELLNER
  Inspection:    269131322160528

  Description:   Distant photo. Within the primate buiding. Dust, dirt, debris, fly specs, insulation, and cobwebs on the floor,
                 walls, ceiling. Build-up of dust, dirt, debris, grime on the primary enclosure.
                                                   Case #C14-2034-JSS                          EXHIBIT 22 PAGE 0069
Photographer:    Heather Cole                               Legal Name:                                              42-C-0084
                                                            PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                            TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. Within the primate buiding. Dust, dirt, debris, and insulation on the floor and wall.
                                                   Case #C14-2034-JSS                         EXHIBIT 22 PAGE 0070
Photographer:    Heather Cole                               Legal Name:                                             42-C-0084
                                                            PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                            TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. Build-up of dust, dirt, debris, grime on the primary enclosure.
                                                  Case #C14-2034-JSS                         EXHIBIT 22 PAGE 0071
Photographer:    Heather Cole                               Legal Name:                                             42-C-0084
                                                            PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                            TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. Build-up of dust, dirt, debris, grime on the primary enclosure.
                                                  Case #C14-2034-JSS                         EXHIBIT 22 PAGE 0072
Photographer:    Heather Cole                               Legal Name:                                             42-C-0084
                                                            PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                            TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. Within the primate building. Dust, dirt, debris, fly specs, cobwebs on the wall and light
                 fixture.
                                                  Case #C14-2034-JSS                         EXHIBIT 22 PAGE 0073
Photographer:    Heather Cole                              Legal Name:                                             42-C-0084
                                                           PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                           TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. Cobweb with a spider on the ceiling in the primate building.
                                                  Case #C14-2034-JSS                        EXHIBIT 22 PAGE 0074
                                                                                                                  ¥ , ··~
                                                                                                                       •




Photographer:    Heather Cole                              Legal Name:                                            42-C-0084
                                                           PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                           TOM SELLNER
  Inspection:    269131322160528

  Description:   Distant photo. Wet and muddy area with sitting water within the potbelly pig enclosure. The feeder has a
                 thick brown to black build-up. Shelter with a build-up of a black to brown material.
                                                 Case #C14-2034-JSS                        EXHIBIT 22 PAGE 0075
Photographer:    Heather Cole                              Legal Name:                                            42-C-0084
                                                          PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                          TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. Wet and muddy area with sitting water within the potbelly pig enclosure.
                                                 Case #C14-2034-JSS                        EXHIBIT 22 PAGE 0076
Photographer:    Heather Cole                              Legal Name:                                            42-C-0084
                                                          PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                          TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. Wet and muddy area with sitting water within the potbelly pig enclosure.
                                                 Case #C14-2034-JSS                        EXHIBIT 22 PAGE 0077
Photographer:    Heather Cole                             Legal Name:                                     42-C-0084
                                                          PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                          TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. The feeder has a thick brown to black build-up.
                                                 Case #C14-2034-JSS                EXHIBIT 22 PAGE 0078
       •


 CFR 3 131 (a)




Photographer:    Heather Cole                              Legal Name:                                             42-C-0084
                                                           PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                           TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. Water, waste and/or debris on the floor of the capybara shelter.
                                                 Case #C14-2034-JSS                         EXHIBIT 22 PAGE 0079
Photographer:    Heather Cole                               Legal Name:                                             42-C-0084
                                                            PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                            TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. Potbelly pig shelter with a build-up of a black to brown material.
                                                  Case #C14-2034-JSS                         EXHIBIT 22 PAGE 0080
Photographer:    Heather Cole                               Legal Name:                                             42-C-0084
                                                            PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                            TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. Potbelly pig shelter with a build-up of a black to brown material.
                                                  Case #C14-2034-JSS                         EXHIBIT 22 PAGE 0081
Photographer:    Heather Cole                               Legal Name:                                             42-C-0084
                                                           PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                           TOM SELLNER
  Inspection:    269131322160528

  Description:   Distant photo. Build-up of animal waste within the highland cattle enclosure.
                                                  Case #C14-2034-JSS                         EXHIBIT 22 PAGE 0082
Photographer:    Heather Cole                              Legal Name:                                             42-C-0084
                                                           PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                           TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. Build-up of animal waste within the highland cattle enclosure.
                                                 Case #C14-2034-JSS                         EXHIBIT 22 PAGE 0083
Photographer:    Heather Cole                               Legal Name:                                             42-C-0084
                                                           PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                           TOM SELLNER
  Inspection:    269131322160528

  Description:   Distant photo. Build-up of animal waste within the highland cattle enclosure.
                                                  Case #C14-2034-JSS                         EXHIBIT 22 PAGE 0084
Photographer:    Heather Cole                               Legal Name:                                                42-C-0084
                                                           PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                           TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. Build-up of animal waste within the highland cattle shelter.
                                                  Case #C14-2034-JSS                            EXHIBIT 22 PAGE 0085
Photographer:    Heather Cole                             Legal Name:                                            42-C-0084
                                                          PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                          TOM SELLNER
  Inspection:    269131322160528

  Description:   Rodent droppings, dust, cobwebs on the husbandry supplies in the storage area within the "education
                 center"
                                                 Case #C14-2034-JSS                       EXHIBIT 22 PAGE 0086
Photographer:    Heather Cole                               Legal Name:                                             42-C-0084
                                                           PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                           TOM SELLNER
  Inspection:    269131322160528

  Description:   Feed storage room in the "education center" with dust, dirt, debris and/or cobwebs on the walls, ceiling,
                 shelves and husbandry supplies.
                                                  Case #C14-2034-JSS                         EXHIBIT 22 PAGE 0087
Photographer:    Heather Cole                             Legal Name:                                            42-C-0084
                                                          PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                          TOM SELLNER
  Inspection:    269131322160528

  Description:   Rodent droppings, dust, cobwebs on the husbandry supplies in the storage area within the "education
                 center".
                                                 Case #C14-2034-JSS                       EXHIBIT 22 PAGE 0088
Photographer:    Heather Cole                               Legal Name:                                             42-C-0084
                                                            PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                            TOM SELLNER
  Inspection:    269131322160528

  Description:   Distant photo. Build-up of dust, dirt, grime, debris, and/or food and animal waste on and within the kinkajou
                 enclosure.
                                                  Case #C14-2034-JSS                         EXHIBIT 22 PAGE 0089
Photographer:    Heather Cole                              Legal Name:                                             42-C-0084
                                                           PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                           TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. Build-up of dust, dirt, grime, debris, and/or food and animal waste on and within the
                 kinkajou enclosure.
                                                  Case #C14-2034-JSS                        EXHIBIT 22 PAGE 0090
Photographer:    Heather Cole                              Legal Name:                                             42-C-0084
                                                           PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                           TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. Build-up of dust, dirt, grime, debris, and/or food and animal waste on and within the
                 kinkajou enclosure.
                                                  Case #C14-2034-JSS                        EXHIBIT 22 PAGE 0091
Photographer:    Heather Cole                               Legal Name:                                             42-C-0084
                                                            PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                            TOM SELLNER
  Inspection:    269131322160528

  Description:   Distant photo. Build-up of dust, dirt, grime, debris, and/or food and animal waste on and within the kinkajou
                 enclosure.
                                                  Case #C14-2034-JSS                         EXHIBIT 22 PAGE 0092
Photographer:    Heather Cole                              Legal Name:                                            42-C-0084
                                                           PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                           TOM SELLNER
  Inspection:    269131322160528

  Description:   Distant photo. Build-up of food and/or animal waste within the porcupine enclosure.
                                                 Case #C14-2034-JSS                        EXHIBIT 22 PAGE 0093
Photographer:    Heather Cole                             Legal Name:                                            42-C-0084
                                                          PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                          TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. Build-up of food and/or animal waste within the porcupine enclosure.
                                                 Case #C14-2034-JSS                       EXHIBIT 22 PAGE 0094
Photographer:    Heather Cole                             Legal Name:                                            42-C-0084
                                                          PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                          TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. Build-up of food and/or animal waste within the porcupine enclosure.
                                                 Case #C14-2034-JSS                       EXHIBIT 22 PAGE 0095
Photographer:    Heather Cole                              Legal Name:                                             42-C-0084
                                                           PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                           TOM SELLNER
  Inspection:    269131322160528

  Description:   Distant photo. Build-up of food and animal waste within the kinkajou enclosure.
                                                 Case #C14-2034-JSS                         EXHIBIT 22 PAGE 0096
Photographer:    Heather Cole                             Legal Name:                                             42-C-0084
                                                          PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                          TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. Build-up of food and animal waste within the kinkajou enclosure.
                                                 Case #C14-2034-JSS                        EXHIBIT 22 PAGE 0097
Photographer:    Heather Cole                             Legal Name:                                             42-C-0084
                                                          PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                          TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. Build-up of food and animal waste within the kinkajou enclosure.
                                                 Case #C14-2034-JSS                        EXHIBIT 22 PAGE 0098
Photographer:    Heather Cole                               Legal Name:                                             42-C-0084
                                                           PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                           TOM SELLNER
  Inspection:    269131322160528

  Description:   Distant photo. Build-up of food and/or animal waste within the chinchilla enclosure.
                                                  Case #C14-2034-JSS                         EXHIBIT 22 PAGE 0099
Photographer:    Heather Cole                               Legal Name:                                             42-C-0084
                                                           PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                           TOM SELLNER
  Inspection:    269131322160528

  Description:   Distant photo. Build-up of food and/or animal waste within the chinchilla enclosure.
                                                  Case #C14-2034-JSS                         EXHIBIT 22 PAGE 0100
Photographer:    Heather Cole                              Legal Name:                                             42-C-0084
                                                           PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                           TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. Build-up of food and/or animal waste within the chinchilla enclosure.
                                                  Case #C14-2034-JSS                        EXHIBIT 22 PAGE 0101
Photographer:    Heather Cole                            Legal Name:                             42-C-0084
                                                         PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                         TOM SELLNER
  Inspection:    269131322160528

  Description:   Cobwebs and dust on the serval enclosure.
                                                Case #C14-2034-JSS        EXHIBIT 22 PAGE 0102
Photographer:    Heather Cole                            Legal Name:                             42-C-0084
                                                         PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                         TOM SELLNER
  Inspection:    269131322160528

  Description:   Cobwebs and dust on the serval enclosure.
                                                Case #C14-2034-JSS        EXHIBIT 22 PAGE 0103
Photographer:    Heather Cole                                Legal Name:                                               42-C-0084
                                                             PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                             TOM SELLNER
  Inspection:    269131322160528

  Description:   Distant photo. Litter box within the serval enclosure with a layer of dust, dirt, debris and/or grime.
                                                   Case #C14-2034-JSS                           EXHIBIT 22 PAGE 0104
Photographer:    Heather Cole                                Legal Name:                                              42-C-0084
                                                             PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                             TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. Litter box within the serval enclosure with a layer of dust, dirt, debris and/or grime.
                                                   Case #C14-2034-JSS                          EXHIBIT 22 PAGE 0105
Photographer:    Heather Cole                              Legal Name:                                             42-C-0084
                                                           PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                           TOM SELLNER
  Inspection:    269131322160528

  Description:   Distant photo. Coati mundi enclosure within the "reptile house". Area on wall with black to brown grime.
                                                  Case #C14-2034-JSS                        EXHIBIT 22 PAGE 0106
Photographer:    Heather Cole                              Legal Name:                                            42-C-0084
                                                           PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                           TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. Coati mundi enclosure within the "reptile house". Area on wall with black to brown grime.
                                                 Case #C14-2034-JSS                        EXHIBIT 22 PAGE 0107
Photographer:    Heather Cole                             Legal Name:                                             42-C-0084
                                                          PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                          TOM SELLNER
  Inspection:    269131322160528

  Description:   Distant photo. Cobwebs within the serval enclosure. A build-up of a yellow-brown substance on the walls.
                                                 Case #C14-2034-JSS                        EXHIBIT 22 PAGE 0108
Photographer:    Heather Cole                            Legal Name:                             42-C-0084
                                                         PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                         TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. Cobwebs within the serval enclosure.
                                                Case #C14-2034-JSS        EXHIBIT 22 PAGE 0109
Photographer:    Heather Cole                            Legal Name:                             42-C-0084
                                                         PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                         TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. Cobwebs within the serval enclosure.
                                                Case #C14-2034-JSS        EXHIBIT 22 PAGE 0110
Photographer:    Heather Cole                             Legal Name:                                            42-C-0084
                                                          PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                          TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. Cobwebs within the serval enclosure. A build-up of a yellow-brown substance on the wall.
                                                 Case #C14-2034-JSS                       EXHIBIT 22 PAGE 0111
Photographer:    Heather Cole                             Legal Name:                                         42-C-0084
                                                          PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                          TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. A build-up of a yellow-brown substance on the wall.
                                                 Case #C14-2034-JSS                    EXHIBIT 22 PAGE 0112
Photographer:    Heather Cole                             Legal Name:                             42-C-0084
                                                          PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                          TOM SELLNER
  Inspection:    269131322160528

  Description:   Distant photo. Dead rodent within the coyote enclosure.
                                                 Case #C14-2034-JSS        EXHIBIT 22 PAGE 0113
Photographer:    Heather Cole                             Legal Name:                              42-C-0084
                                                         PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                         TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. Dead rodent within the coyote enclosure.
                                                Case #C14-2034-JSS          EXHIBIT 22 PAGE 0114
Photographer:    Heather Cole                              Legal Name:                                             42-C-0084
                                                           PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                           TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. Water, waste and/or debris on the floor of the capybara shelter.
                                                 Case #C14-2034-JSS                         EXHIBIT 22 PAGE 0115
Photographer:    Heather Cole                              Legal Name:                                              42-C-0084
                                                           PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                           TOM SELLNER
  Inspection:    269131322160528

  Description:   Distant photo. Water, waste and/or debris on the floor of the capybara shelter.
                                                  Case #C14-2034-JSS                         EXHIBIT 22 PAGE 0116
Photographer:    Heather Cole                             Legal Name:                                         42-C-0084
                                                          PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                          TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. Build-up of animal waste within the bear enclosure.
                                                 Case #C14-2034-JSS                    EXHIBIT 22 PAGE 0117
Photographer:    Heather Cole                             Legal Name:                                         42-C-0084
                                                          PAMELA SELLNER
 Photo Taken:    Wed, Sep 25, '13
                                                          TOM SELLNER
  Inspection:    269131322160528

  Description:   Close-up photo. Build-up of animal waste within the bear enclosure.
                                                 Case #C14-2034-JSS                    EXHIBIT 22 PAGE 0118
